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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,

Criminal Action No. 21-237-2 (RDM)
MATTHEW LELAND KLEIN,

Defendant.

 

 

DECLARATION OF DONNA THIBODEAU

Under 28 U.S.C. § 1746, 1, Donna Thibodeau, state the following:

1. Lam the third-party custodian for Mr. Matthew Leland Klein. By order of the Court, Mr.
Klein is confined to my home in Baker County, Oregon.

2. From the period of 5. aS, 2021 to 5-a)_. 2021, | attest that Matthew Leland Klein
has fully complied with each and every condition of his pre-trial release.

3. Lattest that if | become aware or have reason to believe that Matthew Leland Klein has
violated or will violate any conditions of his release, I will immediately report this
information to the Pretrial Services Agency at (202) 442-1000.

I so declare, under penalty of perjury, that the foregoing is true and correct.

Executed on; S- B\- , 2021

 
